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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                            LEWIS T. BABCOCK, JUDGE


Civil Case No. 16-cv-00633-LTB

STACEY DUROCHER,

             Plaintiff,

v.

WESTLAKE FINANCIAL,

           Defendant.
______________________________________________________________________

                                ORDER
______________________________________________________________________


      THIS MATTER having come before the Court on the Plaintiff’s Notice of Withdrawal

of Complaint and Voluntary Dismissal of Action With Prejudice Pursuant to Rule 41(a) (Doc

12 - filed January 12, 2017), and the Court being fully advised in the premises, it is

therefore

      ORDERED that this matter shall be DISMISSED WITH PREJUDICE, each party to

pay their own fees and costs.


                                               BY THE COURT:


                                                 s/Lewis T. Babcock
                                               Lewis T. Babcock, Judge

DATED: January 13, 2017
